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               IN THE UNITED STATES DISTRICT COURT FOR THE
                       NORTHERN DISTRICT OF FLORIDA
                            PENSACOLA DIVISION

UNITED STATES OF AMERICA

vs.                                           Case No. 3:08cr23/LAC

GERALD WAYNE MCCOY
_____________________________________________________________________


         ORDER ADOPTING AND AMENDING CONDITIONS OF RELEASE

      The defendant is charged by an indictment with offenses alleged to have been

committed in this district. At an initial appearance held on March 19, 2008, it was

determined that defendant should be released under the same conditions as were

imposed at his initial appearance in the Southern District of California, San Diego

Division, with the following additions:

      1. Maintain or actively seek employment.

      2. Defendant shall surrender his passport and do not obtain another.

      3. No excessive use of alcohol.

      The following previously set conditions shall be modified:

      1. Report as directed by the Pretrial Services Office via telephone (850/470-
8179) each Monday before noon and fully comply with all instructions of the Pretrial
Services Officer.

       2. Defendant’s travel is restricted to the United States of America. If
defendant must travel with his job outside this district, he must notify Pretrial
Services Office prior to travel, and give dates of travel, where traveling to, and any
other information required by the Pretrial Services Office.

      DONE and ORDERED in Pensacola, Florida on this 19th day of March, 2008.




                                    /s/   Miles Davis
                                          MILES DAVIS
                                          UNITED STATES MAGISTRATE JUDGE
